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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION




CARLA WIGTON,an individual,                          CV 20-98-M-DWM

              Plaintiff,

       vs.                                                  ORDER

STATE FARM FIRE AND
CASUALTY COMPANY,an Illinois
Company

              Defendant.



      Defendant State Farm Fire and Casualty Company moves for the admission

of Elissa M.Boyd to practice before this Court in this case with David P.

Rossmiller to act as local counsel. Ms. Boyd’s application appears to be in order.

      Accordingly,IT IS ORDERED that Defendant’s motion to admit Elissa M.

Boyd pro hac vice(Doc. 14)is GRANTED on the condition thatpro hac counsel

shall do his or her own work. This means that pro hac counsel must do his or her

own writing; sign his or her own pleadings, motions, and briefs; and appear and

participate personally. Counsel shall take steps to register in the Court’s electronic

filing system (“CM-ECF”). Further information is available on the Court’s

website, www.mtd.uscourts.gov, or from the Clerk’s Office.
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      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

pro hac counsel, within fifteen(15) days of the date ofthis Order, files a notice

acknowledging counsel’s admission under the terms set forth above. In that notice.

counsel shall also designate a single attorney with the authority to make any and all

decisions related to the administration of this case as the primary point of contact

for the opposing party.

      DATED this     I^ day of October, 2020.



                                       Donald W.      Hoy, District Judge
                                       Uhited States district Court




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